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        Exhibit 4
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Bobbie Harris                                                                                                                                9
          Wilson, I can’t remember what her hyphenated name was.          1 the manager ——
               Q. Who was the manager of Utilization Management at        2     A. Managers.
          that time?                                                      3       Q.   ——of Utilization Management?
               A. It was Charlsie, when I first started baok in                  A.    Correct.
          two thousand I actually started as a temp in January
                       --                                                         Q.   Okay. So you were a prior authorization nurse
          of 2013 and then I beoame permanent April 1st.                  6 beginning in December 2016 and then at some point you
               Q. Okay.                                                       became the clinical appeals cuordinator; is that right?
              A. Of 2013.                                                        A.    Yes.
               Q. At some point Ms. Beverlin became the manager of                Q. Is that in the same department?
     10   Utilization Management, oorrect?                               10       A. Mo, it’s in the Quality Department.
     11       A. Yes.                                                    11       Q. Who’s your supervisor now?
     12        Q. Okay. And then you became the supervisor over          12       A. Michelle Collins.
     13   referral specialists, correct?                                 13       Q. How long have you been in that position?
     14       A. Yes.                                                    14       A. Since Movermber of 2017.
     15       Q. When did that occur?                                    15       Q. I’m handing you Plaintiff’s Exhibit Mo. 2. Have
     16       A. I believe October of 2014.                              16   you ever seen this document before?
     17       Q. Okay. And who was your manager at that time?            17       A. Yes, I have.
     18       A. Mariza Greenwald.                                       18       Q. This appears to be the company’s anti—harassment
     19       Q. And at some point that changed?                         19   policy; do you see that?
     20       A. Yes, Mariza went to a different department so           20       A. This isn’t the harassment policy.
     21   then the manager was Patty Counter.                            21       0. I apologize. That appears to be the company’s
     22       0. Okay. And then at some point Ms. Severlin was           22   equal erployment opportunity policy, correct?
     23   the manager after Ms. Counter?                                 23     A. Correct.
     24       A. After Patty Counter left, then Terie became             24     Q. All right. The secund sentence in the policy
     25   manager.                                                       25 says, “The company does not unlawfully discriminate on
                                                                                                                                        11

              Q. Okay.                                                     1 the basis of race, color, religious creed, citizenship
      2       A. And now I believe Tone is the director.                   2 status, sex, national origin, ancestry, marital status,
      3       Q. So then you went back to being a prior                    3 sexual orientation, gender, gender expression and gender
          authorization nurse; is that right?                              4 identity, genetic information, physical or mental
              A. Correct.                                                  5 disability, medical condition” and a number of other
      6       Q. When did this occur?                                      6 character traits that the cummpany does not discriminate
              A. Becenter of I want to say 2016.                           7 against; do you see that?
              0. Why did you go back to being a prior                            A. Yes.
          authorization nurse?                                                   0. Have you always understood that to be a true and
     10       A. The department decided they were going to               10 accurate statement?
     11   reorganize and they weren’t going to have supervisors          11      A. Yes, I have.
     12   anymore, they had team leads, so I went back to doing          12      Q. You would agree with me that employers must not
     13   prior authorization.                                           13 discriminate against employees, correct?
     14       Q. Did you apply for the team lead position?               14      A. Correct.
     15       A. Mo, that was already filled. There wasn’t one           15      Q. You’d agree with me that employers should treat
     36   open.                                                          16 all employees equally, correct?
     17       Q. Okay. And who currently is the team lead?               17      A. It just depends on their history. But as far as
     18       A. At that time it was Susan Ray.                          18 harassment, yes, all employees should be treated equally.
     19       Q. Who’s the current team lead?                            19      0. Okay. With respect to discrimination,
     20       A. I don’t mow that they have one because they             20 harassment or retaliation, you would agree that employees
     21   have reorged again up there.                                   21 should treat     make an attempt to treat the employee
                                                                                            ——


     22       Q. So basically they are getting rid of supervisors        22 equally with respoct to investigating claims of
     23   for referral specialists and simply having team leads?         23 harassment, discrimination or retaliation, correct?
     24       A. Correct.                                                24     A. Correct.
     25       Q. And the team leads would then report directly to        25     Q. I’m handing you Plaintiff’s Exhibit Mo. 3. This
                                                                    1~                                                                  12
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Bobbie Harris                                                                                                                                       13
          is the company’s anti—harassemnt policy. Have you seen                   to the supervisor, they’re going to go to the manager in
          this document before?                                                    charge or HR.
              A.   Yes, I have.                                                        Q. Pair enough. Have you ever been involved in
              Q. Underneath the Policy section it says, “The                       investigating complaints of harassment, retaliation or
          company is committed to maintaining a work environment                   discrimination?
          that is free of unlawful harassment, including sexual                        A. I have been called to the office once for a
      7   harassment. We will not tolerate harassment of company                 7 complaint.
          employees by anyone, including any supervisor, coworker            8         Q.    And what was that related to?
          or third parties, nor will we tolerate harassment of               9         A.    I really can’t remember.
     10   customers, vendors or others by a company employee while          10         Q.    Was it a complaint about you?
     11   on the job.” Have you always understood that to be a              11         A.    I believe so, an anonymous complaint I think.
     12   true and accurate statement?                                      12         Q.    When did that occur?
     13       A. Yes, I have.                                               13         A.    I couldn’t tell you, I don’t boow the date.
     14       Q. On the second page of this exhibit, the second             14         Q.    Who called you to the offico?
     15   paragraph says, “The company forbids retaliation against          15     A.        Scott Nak.
     16   anyone for reporting harassment, assisting in making a            16     Q.        Okay. Are you aware of any other complaints
     17   harassment complaint, or participating in a harassment            17 against you?
     18   investigation.” Do you see that?                                  18         A.    I’m aware of one other complaint that after the
     19       A. Tdo.                                                       19 Plaintiff was terminated, her sister, Gregshima O’Neal,
     20       Q. Have you always understood that to be a true and           20 called corporate and filed a complaint against me there.
     21   accurate statement?                                               21     Q. Was this an anonymous complaint that she filed?
     22     A. Yes, I have.                                                 22     A. Wo.
     23     Q. You would agree with me that the employer, in                23     Q. Okay. How did you find out about that
     24 this instance Sunflower, should treat all complaints of             24 complaint?
     25 retaliation with importance, correct?                               25     A. Corporate HR called me and investigated. I did
                                                                       13                                                                      is
             A.    Yes. Sorry, yes.                                          1 an interview over the phone.
             g.    That’s okay.   I hand you Plaintiff’s Exhibit No.         2     Q. Okay. What did they say the hasis of that
          4. Underneath the heading for Reporting Discrimination             3 complaint was?
          it says, “An employee who believes that he or she has              4     A. Basically, if I remember correctly, that I
        experienced or witnessed discrimination, or who becomes              5 harassed her.
        aware of possible discrimination, should notify a                    6     Q. Okay.
        supervisor of the company or a Human Resources                       7     A. I don’t remember all the specifics of that case.
      8 representative assigned to the employee’s work site or                     Q. What do you remember about the specifics of your
      9 the employee’s business unit.” Do you see that?                      9 conversations with Wr. Mak regarding the complaints
     10     A. Ido.                                                         10 against you?
     11     Q. “The notification can be orally or in writing.               11     A. I don’t remember specifics and I don’t believe
     12 An employee need not report such behavior to his or her             12 that    if I remember right, he didn’t tell me what the
                                                                                        ——


     13 direct supervisor.” Do you see that?                                13 complaint was, he just asked certain guestions and I
     14     A. I do.                                                        14 answered them.
     15     Q. Have you always understood that to be a true and             15      Q. Co you recall what guestions he asked?
     16 accurate statement?                                                 16        A.     No, not right ofthand I don’t.
     17     A. Yes.                                                         17    g. Okay. Did he indicate who may have made the
     18     Q. So you would agree with me that this means that              18 complaint against you?
     19 a report of discrimination could be made verbally or in             19        A.     No, he did not.
     20 writing, correct?                                                   20        Q.     Okay.
     21     A. Correct.                                                     21        A.     Not that I can recall.
     22     Q. And it does not have to be reported to the                   22        Q.     Pair enough. Just to be clear, have you ever
     23 direct supervisor, correct?                                         23    personally led an investigation into complaints of
     24     A. Correct. Tf they have a complaint abeut a                    24    harassment, discrimination or retaliation?
     25 supervisor, I’m sure that they’re not going to report it            25        A.     Have I?
                                                                       14                                                                      16
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Bobbie Harris                                                                                                                               17
              Q.    Yes, ma’am.                                          1 Utilization Management is over the entire department,
              A.    No, I have not.                                      2 correct?
              Q.   Okay. Ooes Sunflower have a progressive               3     A.     Correct.
          disciplinary procedure?                                        4     Q.     As I understand it, there are four sub groups in
              A. Sunflower, yes. As far as I rernenter they do.          5 the Utilization Management Oepartment, correct?
              Q.    What’s your understanding of that procedure?         6     A.     Correct.
              A.    The procedure is first you get a verbal              7     g.     Okay.   So as the supervisor of the Referral
          discussion. If that doesn’t solve the issue, then it’s a       8 Specialists Oepartment, you are the individual that is
          written. If that doesn’t solve the issue, then it’s a          9 tasked with ensuring that referral specialists are
     10 Performance Improvement Plan. And if that doesn’t solve         10 performing their job, correct?
     11 the issue, then it’s Last Iliance Agreement.                    11     A. Correct.
     12     Q. So you stated a verbal warning, then a written           12     g. So you would be the individual that is most
     13 warning?                                                       13 involved in comaunicating with employees in assessing
     14     A. Oh—huh. Performance Improvement Plan.                   14 whether or not they are performing their duties, correct?
     15     Q. A Performance Improvement Plan.                         15     A. Corcoct.
     16       A.    And then Last Chance   ——                          16     Q. You then provide your assessment of the
     17       Q.    Then last chance.                                  17 employee’s performance to the manager of Utilization
     18     A. —— Agreement.                                           18 Management if an individual employee is not performing
     19     Q. Can an employee’s issues ever be escalated              19 their job, correct?
     20 directly to a last chance?                                     20      A.     Correct.
     21     A. That would be determined by the manager and HR.         21     Q. Okay. The manager of Utilization Management
     22     Q. The manager and HR?                                     22 would rely upon your assessment in part to determine
     23     A.    (Witness nodded.)                                    23 whether or not employees are performing their jobs,
     24     Q. Okay. Are you involved with disciplining                24 correct?
     25 employees?                                                     25     A. Correct.
                                                                                                                                       19
               A. No. The only discipline I would do would be a          1     Q. Okay.
          verbal. Anything else, I would have to get with my             2     A. Can I add something there?
          manager and HR to see what they wanted to do.                  3     Q. Sure.
               Q. So what is your role in the department as a            4     A. It wouldn’t just be my assessment. It would be
          supervisor of referral specialists?                            5 like documentation, it would be any productivity reports,
               A. It was the day—to—day operations of referral           6 anything like that, that would get sent to the manager as
          specialists, make sure we’re being ccmplisnt with our          7 well.
          turn—around times, that work processes and policies and              Q. Okay. So you mentioned documents and
          procedures are being followed.                                 9productivity reports. In connection with that, would you
     10        Q. What if policies and procedures are not being        10  agree that it’s important to keep detailed records of
     11   followed?                                                    11 whether or not employees are performing their duties?
     12        A. Then I would try to educate them on the policy       12      A. I would agree that you need to keep a record of
     13   and procedure and the correct way to do things.              13 the employees performing their duties, yes.
     14        Q. Anything else?                                       14      g. Consequently, if the employee is not performing
     15        A. If that didn’t solve the issue, then I would         15 their duties, you would want to make sure that you’re
     16   have ——  I would just suhnit information to Terie, my        16 keeping accurate records, correct?
     17   manager.                                                     17      A. Yes.
     18        Q. Okay. Are you the primary individual that is         18      Q. What’s a productivity report by the way?
     19   responsible for determining whether or not referral          19      A. It’s a report ran out of the system that shows
     20   specialists were performing their job when you were the      20 how many authorizations a staff meiter has built or how
     21   referral specialists’ supervisor?                            21 many notes they put in the system, and it just shows how
     22        A. What do you mean by  --                              22 many authorizations they built or touched for a period of
     23        Q. Well, first, let me back up and say in this          23 time.
     24   context I’m talking about your role as the supervisor of     24      Q. Is it basically related to a referral
     25   referral specialists. So my guestion is, the manager of      25 specialist’s efficiency?
                                                                                                                                     20
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Bobbie Harris                                                                                                                                  21
       1     A. Excuse me?                                                 1     A. Yes, I was.
       2     Q. Is it somewhat related to whether or not the               2     Q. When did you first become aware that Ns. O’Neal
       3 referral specialist is being efficient with respect to            3 was taking EMIl with respect to her own medical condition?
       4 answering phones oalls?                                           4     A. When I became supervisor.
       5     A. That has nothing to do with phone calls.                   5     Q. And you became supervisor in or around October
       6     Q. Okay, okay. I’m trying to understand.                      6 2014?
      7      A. It’s just a system out of our True Care system,            7     A. Right. But then I was out sick so I didn’t
      8 out of the documentation system a report can be ran out            8 really come hack to work until like November 16th because
       9 of there, and it shows how many authorizations they built         9 I was out on short—term disability.
     10 in a month, in a day or seven days I think is the three           10     Q. 2014?
     11 times. I don’t know, they might have changed that report          11     A. Oid I say ‘16?
     12 by now.                                                           12     Q. No, ma’am, I’m just making sure. Around
     13      Q. Okay. And what would you say is an average                13 November 2014 is when you basically took over duties as
     14 amount of authorizations that should be handled in a              14 supervisor of referral specialists?
     15 month by a referral specialist?                                   15     A. Right. When I came back but my manager was
     16      A. I don’t mow that amount.                                  16 Nariza Greenwald and she wanted to ease me into that
     17      Q. Well, to put it another way, how few                      17 position, so she took care of a lot of the stuff.
     18 authorizations would need to be handled in order for that         18     Q. I understand. Now, what is your understanding
     19 referral specialist to be disciplined or at least have a          19 of how an employee should let Sunflower know that they
     20 verbal discussion regarding how many authorizations they          20 need to take ENL?
     21 are handling?                                                     21     A. To let Sunflower know? I mean     ——


     22      A. T don’t remember the amount, and I don’t know             22     Q. Or yes, to let Sunflower know, the cceipany,
                                                                                           —


     23 that they even had a set amount at that time when I took          23 that they’re taking ENL for a porticular thy.
     24 over.                                                             24     A. That they aiready have EMIL and they need to take
     25      Q. Have you ever counseled or disciplined any                25 a thy off; is that what you’re saying?
                                                                     21                                                                   23
      1 referral specialist for having a low productivity report?          1     Q. Sure.
            A. Have I counseled them? I’ve probably spoken to              2     A. They would just either let the supervisor know
        them, yes.                                                         3 that they needed the day off for a doctor’s appointment
            Q. Has there ever been any type of formal                          or whatever they needed for their EMIl.
        discipline with respect to an employee having a low                        Q. And let’s be clear. We’re assuming that they’ve
        preductivity report?                                               6   already been approved by the third—party provider?
      7     A. No.                                                                 A. Right.
            Q. I’m handing you Plaintiff’s Exhibit 7. It’s the                     Q. So we’re assuming they have already been
        family and medical leave policy. Have you seen this                    approved by the third—party provider, and my question to
     10 document before?                                                  10   you was, how would you let the company know that they
     11       A.   Yes, I have.                                           11   need to take leave, and as I understand your testimony
     12       Q. Underneath the policy there is a sthheading for          12   they would simply need to let a supervisor know?
     13   Section B called Qualifying Reasons; do you see that?           13       A. Yes.
     14       A. Yes, I do.                                               14       Q. How do you let a supervisor know?
     15       Q. Paragraphs 3 and 4 indicate that an employee may         15       A. They would either e—mail me or they would tell
     16   take FNL for an immediate family member with a serious          16   me in person that they needed to take off.
     17   health condition or the serious health condition of the         17       Q. If you are not around, who should they let know?
     18   employee respectively; do you see that?                         18       A. Terie, the manager.
     19       A. Ido.                                                     19       Q. Okay. By the way, it’s my understanding that
     20       Q. Have you always understoed that to be a true and         20   Ms. O’Neal was on intermittent EMIl leave; are you aware
     21   accurate statement?                                             21 of that?
     22      A.    Yes, I have.                                           22     A. Yes, I was.
     23       Q. Are you aware that Ms. O’Neal was taking EMIl            23     Q. So similarly, if she simply needed to take four
     24   with respect to her own medical condition as well as her        24 hours off on a perticolar thy or even had to take leave
     25   son’s medical condition?                                        25 on the same thy, she would need to let you or Ms.
                                                                     22                                                                24
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Bobbie Harris                                                                                                                                    25
          Severlin know, correct?                                            1 policy, or at least something that would have been
              A. As early as she could possibly let us know.                 2 provided to employees in the erployee handbook. I
              Q. Okay. Are you aware of whether or not Ms.                  3 further understand that when employees are provided an
          O’Neal had issues with using the restroom excessively?            4 employee handbook, that they have to acknowledge that
              A. She never told me that she had issues.                     5 they have received the handbook with a signature.
              Q. Okay. So you were unaware that Ms. O’Neal had               6    A. Right.
          issues related to aoid reflux?                                    7     g. So I guess what I’m just trying to understand
              A. I did not know that. I thought she had lupus.              8 is, is there any other type of policy that would have
              g. Okay. What is that representation made on?                 9 been provided to enployees related to telephone usage?
     10       A. A conversation that I had with her because when           10     A. Not that I’m aware of.
     11   I took over supervisor, coming back fran short—term              ii     g. The first sentence underneath Telephone Usage
     12   disability, I also had an autoimmune disease and she said        12 says, “Personal phone calls in pursuit for necessary
     13   she did as well, she had lupus. She might have said she          13 personal business are allowed but should be infrequent
     14   had GERO, but I can’t really rementer. She had sane              14 and not disruptive.” Do you see that?
     15   stanach issues.                                                  15     A. Ido.
     16       Q. Okay. So you recall that Ms. O’Meal may have              16     g. What would be considered infrequent use of a
     17   mentioned that she had GERO?                                     17 phone call or personal phone calls?
     18       A. Possibly, yes.                                            18     A. I don’t know what would be considered. I mean
     19       g. Are you aware of whether or not the GERO was              19 if it’s disruptive. I don’t know the exact number aknut
     20   contributing to Ms. O’Neal to use the restroan                   20 frequent. Sut when you’re getting daily phone cells or
     21   excessively?                                                     21 you’re on your personal phone daily, it becomes
     22       A. I do not know that.                                       22 disruptive to the team.
     23       g. If an employee needed a reasonable                        23     g. How does it become disruptive to the team?
     24   accommodation, for instance related to stanach issues,           24     A. Because the other team canplains about the
     25   what’s the process that the employee would need to go            25 person being on their cell phone all day.
                                                                      25                                                                    27

          through to be approved for that request?                           1       g. Okay. Anything else?
               A. I would imagine they’d have to go through HR.                      A. Not that I can recall at this time.
               2. Okay. So similarly, it may need to go through              3       g. At least from this policy, it appears to
          HR, the third—party processor?                                         indicate that phone cells, personal phone calls could be
               A. I don’t know about Liberty Mutual, but if they             5   made on the business phone, correct?
          needed extra accommodations, I’m sure HR would be aware            6       A. Carrect.
          and let the supervisors know that they needed to have             7        g. Is that your understanding of the policy?
          extra accannedations due to their illness.                                A.    Hold on one second. Yes, during their break and
               g. Okay. I’m handing you Plaintiff’s Exhibit Mo.              9lunch times.
     10   8. Have you seen this document before?                           10      g. Okay. And what about the use of cell phones,
     11        A. Possibly, it’s been a long time ago.                     11 what’s the policy on cell phones?
     12        g. All right. It’s my understanding that this is a          12      A. I don’t recall. Is it in here?
     13   document out of the employee handbook. 00 you have any           13      g. Well, you tell me.
     14   reason to dispute that?                                          14      A. I don’t remember the policy on cell phones. I
     15       A. Mo, I don’t.                                              15 think they could use the cell phones if they were
     16        Q. Okay. If you look at the previous exhibit, the           16 infrequent and just not disruptive, when I started.
     17   previous exhibit appears to state Policy and Procedure           17      g. Okay. Did that change at some point?
     18   whereas this document appears to be fran the handbook.           18      A. Yes.
     19   Are you aware of whether or not there is any other               19      2. When did that change?
     20   written policy related to telephone usage?                       20      A. I believe March 22nd of 2015 we had a team
     21       A. Can you clarify what you mean?                            21 meeting.
     22       Q. Well, I understand that this is a policy and              22     g. Okay. And do you recall what was the general
     23   procedure——                                                      23 hasis of that team meeting regarding cell phone use?
     24       A. Uh-huh.                                                   24       A.   There was no longer going to be any cell phone
     25       g.  --   of the compony. I understand that this is a         25 usage.
                                                                     26                                                                     28
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Bobbie Harris                                                                                                                                 29
             Q. Whatsoever?                                                1      Q. When would it not?
            A. Whatsoever.                                                 2      A. I don’t know. Probably a policy is the policy.
             Q. Okay. Was that policy adhered to by all                    3 If there’s a policy written for that, yes.
        employees?                                                         4      Q. Are you aware of whether or not there is a
      5     A. Occasionally one or two might forget and they               5 policy written for the daily team chat?
        would have a  —— just go talk to thea.                              6     A. I do not believe there’s a policy.
      7     Q. Oh-huh.                                                            0. And what was the work process with respect to
      8     A. But the Plaintiff was on hers all the time.                    the daily team chat?
            Q. Was anyone else on their cell phones all the                9      A. It was that all the team members needed to be
     10 time?                                                             10 signed into the chat and when they went up to -- went to
     11     A.    Not all the time. Not as frequent as Monique            11 leave their desk to go to the restrocm or break or
     12 O’Neal was.                                                       12 wherever, they were supposed to enter it into the chat
     13     Q. What’s considered frequent?                                13 that they were leaving, and then enter when they were
     14     A. Daily.                                                     14 back.
     15     Q. So no one else was on their cell phone daily?              15      Q. Did that always occur?
     16     A. No, sir.                                                   16      A.   Not always.
     17     0. Okay. Who else may have been on their cell                 17      Q. How often did it not occur?
     18 phone at times but perhaps not as frequent as you were            18      A. With Ms. O’Neal a lot. With other ones,
     19 indicating?                                                       19 occasionally.
     20     A. I believe Jennifer Moppin was one. I really                20      Q. Okay. And what happened if an employee such as
     21 can’t remember.                                                   21 Ms. O’Neal was not logging into and out of the chat when
     22     0. Anyone else?                                               22 they are away from their desk?
     23     A. I can’t remember anyone. That’s the only name              23      A. I would either verbally give her a reminder or
     24 that comes up on the top of my head. I’m sure there               24 send her an e—mail. Most of the time it would be
     25 might have been others.                                           25 verbally.
                                                                     29                                                                  31

       1     Q. Okay. And related to Ns. O’Neal’s cell phone                1     Q. When did you ever send an e-mail to an employee
       2 use, what was your response to her use of her cell phone?          2 other than Ms. O’Neal related to logging in and out of
       3     A. Excuse me?                                                  3 the chat?
       4     Q. What did you do?                                            4     A. Probably didn’t. Probably went and told them
       5     A. I just verbally asked her to put her cell phone             5 verbally.
       6 away.                                                              6     Q. Okay. So as you sit here today, you’re unaware
       7     Q. When did you do that?                                       7 of any instance where you may have e-mailed another
       8     A. I don’t know the exact date. There was probably             8 employee related to instances of them not logging in or
       9 a couple occasions that I asked her to put her cell phone          9 out of the chat; is that right?
     10 away.                                                             10      A. That’s correct at this time.
     11      Q. Between March 22nd, 2016, and the time when Ms.           11      Q. Okay.
     12 O’Neal was terminated, you believe you told her on                12      A. I can’t remember any more.
     13 multiple occasions to put her cell phone away?                    13      Q. How many times did you monitor employees with
     14      A. yes.                                                      14 respect to whether or not they were logging in and out of
     15      Q. Okay. I understand that there’s also a policy             15 the chat?
     16 related to the daily team chat; is that right?                    16      A. It was daily.
     17      A. Yes. I don’t know if it’s a policy but it’s               17      Q. Okay. So you daily monitored your employees in
     18 like a work process.                                              18 the Referral Specialists Deparbilent to determine whether
     19      Q. What’s the difference?                                    19 or not they were logging in and out of the chat, correct?
     20      A. Policy is, to me, itTs Sunflower’s policy and             20      A. I wasn’t sitting there looking at the chat the
     21 then you have work processes that tell you the daily              21 whole time, but if I saw scambody get up, or whatever,
     22 things that go on on the team and how to do the job.              22 and I knew it wasn’t break time, then I would look at the
     23      Q. Would you agree with me that a policy may have            23 chat to see where they were going and then when they came
     24 more weight and authority than a work process?                    24 back.
     25      A. Possibly.                                                 25      Q. Okay. What is the basis for which an employee
                                                                 30                                                                      32
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Bobbie Harris                                                                                                                                 33
       1 may receive a merit increase?                                    1        Q. That’s fair. If you were having an issue with
       2     A. They receive one yearly.                                  2    an employee, would you not note that on their performance
      3      Q. Is it automatic?                                          3   evaluation?
       4     A. It’s based off of their performance review.               4        A. No, it would be noted on a different document.
      5      Q. Okay. And in the performance review, it would             5        Q. Okay. Well, let me hand you Plaintiff’s Exhibit
       6 indicate whether or not an employee was performing their         6    9. If you look on the second page toward the bottom,
      7 job duties, cerrect?                                              7   there appears to be some writing on that. By the way,
      8      A. It really wasn’t a disciplinary tool for that,            8   this appears to be the evaluation for Monique O’Neal for
      9 it was only for a merit increase, and I believe everybody         9   the year ending in 2016; do you see that?
     10 deserved a merit increase.                                       10        A. Yes, I do.
     11      Q. Are you saying that that’s what you personally           11        Q. Okay. On the bottan of the second page there
     12 believe or you believe that everyone got it necessarily?         12   appear to be some ceimments underneath the section for
     13      A. I personally believe that everybody should               13   2015; do you see that?
     14 receive a merit increase.                                        14        A. Yes.
     15      Q. Okay. And you said it wasn’t the tool for                15        Q. Okay. And those comments, could you read that,
     16 evaluating performance. Were there other performance             16   those comments for me, please?
     17 evaluations of employees?                                        17        A. Under where it says meets expectations?
     18      A. If they had there was other forms if they had
                             -—                                          18        Q. Yes, mna’amn.
     19 disciplinary problems. The performance review for a              19        A. It says, “Monique has done a good job of
     20 merit increase was not the place to put that information.        20   adjusting to the changes in the UN Departnmnt in 2015.
     21      Q. Okay. And so if there were no disciplinary               21   She is flexible to changing demands of our work flow and
     22 problems that would have been indicated on their                 22   a valuable asset to referral specialist team. Monique
     23 respective documents and if it wasn’t indicated on the           23   has improved her attendance issues and her communication
     24 performance evaluation related to merit increases, is it         24   skills in 2015. Monique is always willing to help the
     25 fair to say that the employee was performrdng to                 25   teem complete their work.”
                                                                    33                                                                   35

       1 expectations?                                                     1     Q. At least with respect to this particular
       2     A. It’s not fair to say that because if they were             2 document, there are no indications that Ms. O’Neal was
       3 not performing——   if they were performing to a point             3 not performing her duties, correct?
       4 where they should get a merit increase, then that would           4     A. Monique had improved during this evaluation.
       5 have been documented on that form. If they had                    5     Q. No, ma’am, that’s not what I asked. I asked at
       6 disciplinary actions pending or present with them, they           6 least with respect to this particular document, is there
      7 would be documented on other forms.                                7 any indication that she was not performing her duties, in
       8     Q. Okay. But if an employee did not have any                  8 that section that you just read?
       9 disciplinary actions pending, one, and, two, if there             9     A. At this time she had improved. She was not not
     10 were no indications on the employee’s yearly performance         10 performing her duties and she had improved her attendance
     11 evaluation, how would you necessarily thow that the              11 at this time.
     12 employee was not performing their duties?                        12      Q. Well, it doesn’t say that she had low
     13      A. Okay. Say that one more time, sorry.                     13 productivity numbers, correct?
     14      Q. That’s fair. All I’m trying to understand is, I          14      A. No.
     15 understand that, from your testimony today, that if an           15      Q. It doesn’t say that she had low audit numbers,
     16 employee was not performing their duties, it would be            16 cerrect?
     17 noted on some type of disciplinary form, cerrect?                17      A. No, it does not.
     18      A. Correct.                                                 18      Q. It doesn’t say that she was behaving in a rude
     19      Q. All right. And further, you have stated that             19 or disrespectful manner to other employees, correct?
     20 the performance evaluation is not necessarily the tool to        20      A. No, it does not.
     21 indicate whether or not an employee is performing their          21      Q. It doesn’t say that she was behaving in a rude
     22 functions, correct?                                              22 or disrespectful, excuse me, a rude or disrespectful
     23      A. It’s not the tool to put discipline in  ——               23 manner to providers, correct?
     24      Q. Okay. Well   --                                          24      A. Not on this document.
     25      A.  —  if they have issues.                                 25      Q. Okay. Are you aware of cemrplaints that Ms.
                                                                    34                                                                 36
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Bobbie Harris                                                                                                                                      37
           Harris may have made against you?                                      complaints that you have treated African—American
                         MR. GBEEME: Objection. You said Ms.                      employees in a hostile and disrespectful manner?
           Harris made against you.                                                   A. Mo, he has not.
               Q. (By Mr. Stallworth) Oh, I’m sorry, exouse me.                       g. I hand you Plaintiff’s Exhibit Mo. 12 and
           Are you aware of any complaints that Ms. O’Neal may have               Plaintiff’s Exhibit Mo. 13 as well as Plaintiff’s Exhibit
           made against you?                                                      Mo. 11. Do you recognize Exhibit 11?
               A. No, I am not.                                                       A. Yes.
             Q. Are you aware that Ms. O’Neal made complaints                      Q. Okay. What is this document?
        about you related to harassment or discrimination?                         A. This is a report that I would get on a monthly
     10     A. Mo.                                                          10 hasis from HR to coincide with the attendance tracker
     11     Q. Did Ms. O’Meal ever confront you regarding                   11 that Monique was claiming was 5MG based.
     12 issues related to her belief that you were discriminating           12     Q. Also before we go further, are you aware of any
     13 against her because of her disability?                              13 complaints that Ms. O’Meal may have made against
     14     A. Mo, she did not.                                             14 Geraldine Thomas?
     15     Q. Did you ever make comments that Ms. O’Meal was               15     A. Mo, I am not.
     16 taking too much 6MG time?                                           16     Q. Are you aware of complaints that Ms. O’Meal may
     17     A. Mo, I did not.                                               17 have made against Geraldine Thomas in 2013?
     18     Q. Are you aware that Ms. O’Meal had made                       18     A. Mo, I’m not.
     18 complaints to Ms. Beverlin in or around late 2016                   19     Q. So with respect to Exhibit 12, this exhibit
     20 regarding issues that she had with you?                             20 seems to indicate dates that Ms. O’Meal was taking 5MG;
     21                 MR. GREENE: Objection, asked and                    21 is that right?
     22 answered.                                                           22     A. Correct.
     23     Q.    (By Mr. Stallworth( You can answer.                       23     g. Is this your document? That may be a bad
     24     A. Mo, I’m not.                                                 24 question. I guess what I’m trying to understand is, are
     25     Q. Do you recall in May 2016 that Ms. O’Neal                    25 these dates that you have entered into the system?
                                                                       37                                                                     39

       1   complained to you about your treathent of her?                     1        A. The dates are, yes.
       2                  MR. GBEEME: Same objection. You can                 2        Q. Okay. And then with respect to Exhibit 13, is
       3   answer.                                                            3   this essentially the same document?
       4        A. Mo, I’m not.                                               4        A. Yes, it’s just the other side of this one,
       5        Q. (By Mr. Stailworth( Are you aware that Ms.                 5    (indicating(.
       6   O’Neal indicated that she was going to file a complaint            6        Q. Okay.
       7   with the Human Resources Deparbeent?                               7        A. They’re attached.
       8        A. Mo, no, I didn’t know anything about it.                   8        0. Okay. So with respect to Exhibit 12 and the 5MG
       8        Q. Are you aware of any complaints that Ms. O’Meal            9   tracker, these indicate the dates that Ms. O’Meal has
     10    may have made against Scott Dok?                                 10    taken 5MG, correct?
     11         A. Mo, I’m not. Mo, I’m not.                                11         A. Correct.
     12         Q. Are you aware that in June of 2015 Ms. O’Meal            12        Q.   And then you had compared these dates with the
     13    was given disciplinary action for attendance related to          13    dates that you received from HE, which is on Exhibit 11;
     14    her 6MG leave?                                                   14    is that right?
     15         A. Mo, I was not.                                           15         A. Correct.
     16         Q. Are you aware that employees of Sunflower have           16         Q. What if there was a discrepancy between a date
     17    complained that you treated African—American employees in        17    that was on your daily tracker versus the date that’s on
     18    a hostile and disrespectful manner?                              18    the documentation from HE?
     19         A. Mo, I have not.                                          18         A. Then I would send that date to HR and they would
     20         Q. Has anyone at Sunflower ever spoken to you               20    follow up.
     21    regarding complaints that you had treated                        21         0. At that paint HR would then follow up with the
     22    African—American employees in a hostile and disrespectful        22    employee to determine whether or not 5MG should be taken,
     23    manner?                                                          23    so to speak?
     24         A. Mo, they have not.                                       24         A. I don’t know what they would ask. I would
     25         g. Has Scott Bek ever spoke to you regarding                25    imagine that they would talk to the employee.
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Bobbie Harris                                                                                                                                    49
      1       A. I have not.                                                1     A. Monitoring the chat, the productivity reports,
      2       Q. If you go to the second page of this exhibit, it           2 all that stuff that I did daily.
      3   indicates performance conduct issues. Have you seen               3     Q. Are you aware of Ms. O’Neal having inappropriate
      4   that?                                                             4 personal topics on ccmpany equipment?
      5       A. I was not part of this.                                    5     A. I heard about it but I did not -— I wasn’t part
      6       Q. Okay. Was it your understanding that Ms. O’Neal            6 of that investigation and I did not hear any calls.
      7   was not following breaks and lunch schedule? I may have           7     Q. Have you ever heard any calls where Ms. O’Neal
      8   phrased that incorrectly. Was it your understanding that         8 was having inappropriate personal topics or inappropriate
      9   Ms. O’Neal was not following the break and/or lunch              9 conversation, so to speak?
     10   schedules?                                                      10     A. No, I personally did not.
     11       A. At times she was not.                                    11     Q. Are you aware of whether or not any other
     12       Q. Do you recall how often that was ocourring?              12 employees have complained about Ms. O’Neal having
     13       A. Not right offhand. Probably several times, I             13 inappropriate personal conversations on the phone?
     14   don’t remember.                                                 14     A. I’m not aware that they complained of her
     15        Q. And did you report each of those times to Ms.           15 having, whatever you just said, that type of
     16   Beverlin?                                                       16 conversation. I am aware of complaints from other
     17        A. Yes, because I had verbally talked to Monique in        17 employees that Monique was on her phone.
     18   the past and it didn’t do any good.                             18     Q. Which employees?
     19        Q. Do you always report when an employee is not            19     A. Nicole Richardson, Veronica Johnson, Geraldine
     20   following the break or lunch schedules?                         20 Thomas. Those are the only ones that come off the top of
     21        A. Only after I tried to talk to them.                     21 my head at this point.
     22        Q. And how many times does that happen before you          22     Q. Did they e-mail you?
     23   will report that the employee is not following the break        23     A. I can’t recall. Geraldine might have e-mailed
     24   or lunch schedules?                                             24 me once or sent an e—mail. A lot of times it was verbal.
     25        A. Probably a couple times because I do not like to        25     Q. Okay. So as best as you can recall right now,
                                                                     49                                                                     51

          write people up or send anybody to have discipline,               1   Geraldine may be the only employee who may have e-mailed
          that’s not my thing.                                             2    you regarding instances of Ms. O’Neal using her phone,
              Q.     What’s a couple times, more than three?               3    correct?
              A.     For her?                                              4        A. Correct.
              Q.     For anybody.                                          5        Q. By that you mean personal cell phone?
              A.     Okay. Rephrase the question again.                    6        A. Yes.
              Q.     Well, as I understand it, you said that an            7       Q. Were you aware of any issues related to Ms.
          employee   would need to not follow the policy several           8    O’Neal’s bereavement leave?
          times before you would report them, correct?                     9       A. I knew that her aunt had passed away.
     10       A.   (Witness nodded.)                                      10        Q.   Anything else?
     11       Q.     Yes?                                                 11       A.    I didn’t believe that it was her aunt.
     12      A.      Yes, sorry.                                          12        Q.   Why was that?
     13        Q. And then I asked you what is a couple times, and        13       A.    Because she had been dishonest in the past.
     14   so I’m asking more than three times?                            14        Q. About what?
     15       A. I’d say approximately three times I would talk           15        A. She   —- to Liberty Mutual, she would call in and
     16   to them.                                                        16    say it’s FML but then it wouldn’t be reported to 011.
     17      Q.      Okay. And if they were still exhibiting the          17        Q. Explain that again.
     18   same behavior, at that point you would report that              18        A. On your document back here where we compared the
     19   behavior to Terie Beverlin?                                     19    things, like she would call ma in the morning and say I’m
     20      A. Correct. I would start documenting and                    20    sick, I’m going to use my FOOL and then when I got the
     21   reporting the behavior.                                         21 report, that call in wouldn’t have been documented.
     22       Q. By documenting, do you mean monitoring the               22     Q. And you equate that to being dishonest?
     23   behavior?                                                       23     A. If it didn’t come back that she didn’t claim it.
     24      A. Yes.                                                      24     Q. Could that have simply been an error on her part
     25       Q. Okay.                                                    25 where she just forgot to call in?
                                                                   50                                                                       52
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Bobbie Harris                                                                                                                                      61
       1       A.    No, she did not.                                        1        Q. Okay. I hand you Plaintiff’s Exhibit 24. This
      2        Q.    I hand you Plaintiff’s Exhibit No. 23. Have you         2    appears to be a team chat fran June 14th, 2016; do you
      3    seen this document before?                                        3    see this?
       4       A. Yes, I have.                                               4        A. Yes, I do.
      5        Q. What’s that, rna’am?                                       5        Q. All right. Now, if you begin with Jennifer
       6       A. Yes, I have, sorry.                                        6    Moppin at 8:19 a.m.; do you see that?
      7        Q. Would this have been a document that you would             7        A. Ide.
      8    have sent to Ms. Beverlin regarding the daily team chat?          8        0. And then Ms. Moppin appears to return at 8:26
      9        A. If there had been issues on here, yes. I didn’t            9    a.m.; do you see that?
     10    just send her the daily team chat every day.                     10        A. Ido.
     11        Q. Was Ms. Beverlin normally in the daily team chat          11        Q. So is this generally speaking how employees were
     12    herself?                                                         12    supposed to track their tine in and out of the chat?
     13        A. No. Sometines she would be and other tines she            13        A. What do you mean by track their tine?
     14    was not.                                                         14        Q. Well, she indicates break room at 8:19 a.m., and
     15        Q. More often than not?                                      15    then indicates that she’s hack at 8:26 a.m.
     16        A. More often not than often.                                16        A. That’s normally when they leave and when they
     17        Q. Okay. And so prinarily she would have to rely             17    come back.
     18    upon information that you provided as to whether or not          18        Q. Okay. Now, if you go to the next page,
     19    the employees were logging in or out of the team chat; is        19    beginning at 9:05 a.m., Mary Hadi says “Be right hack”;
     20    that fair to say?                                                20    do you see that?
     21        A. Fair to say.                                              21        A. Ido.
     22        Q. Okay. Now, this particular exhibit begins the             22        Q. Okay. Now, let’s say if you go through the next
     23    daily team chat around 8:06 a.m.; do you see that?               23    two hours, it does not appear, fran what I can tell, that
     24        A. Yes.                                                      24    Ms. Hadi indicates that she has returned. Do you see
     25        Q. And it goes until 10:26 a.rn. on the third page;          25    that?
                                                                       61                                                                     63

       1 do you see that?                                                     1        A. Correct.
       2        A. Oh-huh.                                                    2        Q. Technically, that would be a violation of the
       3        Q. Do you know why the remaining part of the day              3   team chat, correct?
       4   would not have been tracked, so to speak, or at least a            4        A. Correct.
       5   screen shot of the chat tracked?                                   5        Q. Now, as I understand the policy, epoloyees
       6        A. Not right offhand, but it could have been                  6   receive a one—hour lunch break and two 15-minute breaks,
       7   because the computer had issues and the chat wasn’t                7   correct?
       8   working, you know, or my canputer wasn’t working or                8        A. Correct.
       9   whoever that copied this. I believe I did this one.                9        Q. And then, of course, if they need to go to the
     10         0. Why do you believe that?                                 10    restroom or break roan or something like that, they
     11        A. I don’t know why. Possibly because there was a            11    should just let somebody know, correct?
     12    tine Monique went on break and than didn’t clock beck in,        12         A. Yes. They put it in the chat and then they go
     13    log hack into chat.                                              13    and come hack.
     14         Q. Oh, okay. My question was just why did you               14         Q. What’s reasonable for how long an employee
     15    believe that you may have done this particular chat.             15    should be gone away from their desk when it’s not their
     16    That’s why?                                                      16    allotted 15—minute break?
     17        A. Why I copied it?                                          17        A. I donTt know that there’s a specific tine frame.
     18        Q. Yes.                                                      18         Q. Just depends?
     19        A. Yes.                                                      19        A. Dopends on what their issues are, why they
     20        Q. Okay. But I guess my question is core so, were            20    needed to leave their desk.
     21    you the one that actually took a screen shot of this or          21         Q. Okay. All right. So, for instance, at 9:30
     22    was it Ms. Beverlin?                                             22    a.m. you have Jennifer Moppin, she says break, and then
     23        A. I would -- I don’t know for sure -—                       23    it appears that she returns 15 minutes later at 9:45 a.m.
     24        Q. Okay.                                                     24    Do you see that?
     25        A. —— if I did it or she did it.                             25        A. Ido.
                                                                       62                                                                     64
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Bobbie Harris                                                                                                                                        69
          until two o’clock. I do not see where it indicates that               1 the work process of logging in and out of the chat?
          Ms. Richardson indicated that she was returning from                  2     A. No, I did not.
          lunch. Do you see that?                                               3     Q. Why not?
               A. I do not see it.                                                      A. Because I verbally talked to her.
               Q. In that instance, she is violating the work                           Q. Okay.
          process, right, by not indicating that she has returned               6       A. And hopefully that corrected her issue.
          fran lunch, correct?                                                          Q. Okay. Did you begin monitoring Ms. Elizabeth
               A. Correct.                                                          Sampson to ensure that she was properly logging in and
               0. If you look at 12:59 p.m., do you see Paula                       out of the chat?
     10   Anna?                                                            10           A. No, I did not because there wasn’t a history of
     11        A. Yes, I do.                                               11       Elizabeth not doing it, and so I verbally would talk to
     12        Q. It says restroom or “rr,” I assume that’s                12       her as well.
     13   restroom; do you see that?                                       13           Q. Were you looking?
     14        A. Ido.                                                     14           A. Was I looking, excuse me?
     15        Q. Co ahead and look at 2:30. It does not appear            15           Q. Were you looking to determine whether or not Ms.
     16   to indicate that ——  or Ms. Anna does not appear to              16       Sampson was indicating when she was leaving or returning
     17   indicate when she’s returning from the restroom, correct?        17       to her desk?
     18        A. Correct.                                                 18           A. No, I was not.
     19        Q. Now, if you look at Ms. Hadi at 1:06 p.m., do            19           Q. Were you looking to determine whether or not Ms.
     20   you see that, she says “lunch”; do you see that?                 20       Hadi was leaving or returning to her desk?
     21        A. Ido.                                                     21           A. No, I was not.
     22        Q. All right. Go ahead and look until three                 22           Q. What about Ms. Richardson, were you monitoring
     23   o’clock. It doesn’t appear to indicate when Ms. Hadi             23       to determine whether or not Ms. Richardson was leaving or
     24   returned from lunch, right?                                      24       returning to her desk pursuant to the work process?
     25       A. No, it does not.                                          25           A. No, I was not.
                                                                      69                                                                        71

      1     Q. In that instance, that would be a violation of               1     Q. What about Ms. Paula Anna, were you monitoring
      2 the work process, correct?                                          2 whether or not she was returning —— whether or not she
      3       A.    Correct.                                                3 was indicating when she was away from her desk pursuant
      4        Q. So in this one short sample that we have been             4 to the work process?
      5   provided by your counsel, it appears to indicate, as best         5              A.   Was I monitoring her?
      6    I can tell from briefly looking at this, putting aside           6              Q.   Yes, ma’ain.
      7   Ms. O’Neal’s instances of not logging in and out of the           7              A.   No, I was not.
      8    chat, it appears to be that Ms. Hadi--  do you pronounce         8              Q.   Okay. Let me ask you. How many days were you
      9   it Hadi or Hadi?                                                  9 monitoring Ms. O’Neal to determine whether or not she was
     10        A. She pronounces it Hadi.                                  10 properly logging when she was away from her desk on the
     11        Q. It appears to be that Ms. Hadi violated the              11       team chat?
     12   policy by not checking hack in at 9:05 a.m. this morning.        12           A. SOs. O’Neal was so blatant and sat so close to rue
     13   It also appears to be that Ms. Hadi violated the policy          13       that I could see when she wasn’t at her desk, so I would
     14   by never indicating when she returned from lunch. It             14       look at the chat, if I ]c7ew it wasn’t a scheduled break
     15   also appears to be that on this day Ms. Sampson violated         15       or lunch time, just to see where she was at because she
     16   the policy by not indicating when she was leaving, though        16       did it so frequently.
     17   she indicated when she was returning. It also appears            17           0. You didn’t do that for other employees?
     18   that Ms. Richardson did not indicate when she returned           18           A. No, because they weren’t an issue as Monique
     19   fran lunch. It further indicates that Ms. Anna didn’t            19       was.
     20   indicate when she returned from the restroom. So as I            20              Q.
                                                                                       Could you see all employees from your desk?
     21   count it, these are five instances of the team daily chat        21              A.
                                                                                       No, not all of them.
     22   work process being violated, correct?                            22              Q.
                                                                                       Okay. Well, we just looked at a small sample
     23        A. Correct.                                                 23 size of one day and in one day Ms. Hadi violated the
     24        Q. Did you begin monitoring Ms. Hadi at any point           24 policy twice, or excuse me, the work process twice by not
     25   to determine whether or not she was continually violating        25 indicating when she was leaving or returning from her
                                                                  70                                                                           72
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Bobbie Harris                                                                                                                                        73
       1 desk, correct?                                                       February 29th, 2016; do you see that?
                                                                                1
       2     A. Correct.                                                        2 A. Yes, I do.
       3     Q. Okay. And it’s your testimony that you never                    3 Q. Okay. Would this be the type of counseling you
       4 began monitoring Ms. Hadi at any paint related to that             4 were talking about if an employee was on their cell
      5 particular work process or the team daily chat, correct?            5 phone?
       6     A. No, I haven’t.                                                    A. I would have a verbal discussion.
      7      Q. Okay. Just to be clear, did you monitor any of                    Q. And the second paragraph, Ms. Haul indicates
       8 your referral specialists to the extent that you took                that if every team member went to HE, things would
       9 screen shots of the team daily chat and provided those               change; do you see that?
     10 screen shots to Ms. Beverlin?                                      10     A. Ido.
     11      A. Not that I recall.                                         11     Q. What is she referring to?
     12      Q. let me hand you Plaintiff’s Exhibit No. 25.                12     A. I don’t recall.
     13 This is an e—mail that you sent to Ms. Beverlin on June            13     Q. She goes on to state that “Terie is aware of the
     14 14th, and this is the same day that we just reviewed,              14 issues because she had previously discussed things with
     15 which was June 14th, 2016. And in this e-mail you                  15 Terie before Terie was a manager. Also stated that Patty
     16 indicate, among other things, whether or not Ms. O’Neal            16 did not do anything either.” Do you know what she is
     17 was logging in and out of the chat, or rather whether or           17       referencing?
     18 not she was indicating that she returned or was leaving            18     A.          I don’t recall what she was referencing at the
     19 her desk; is that fair to say?                                     19 time.
     20      A. That is because she sat so close to me and it              20     Q.         The third paragraph talks about the fact that
     21 was so obvious when Monique was not at her desk.                   21 Mary comes in around 8:05, legs into the phone and then
     22      Q. Okay. Just to be clear, you never sent any                 22 gets up and goes to the break room?
     23 e—mails related to any other employees regarding                   23     A. Correct.
     24 whether —— excuse me, let me start over. You never sent            24     Q. Is that in relation to this getting up from her
     25 any e—mail to Ms. Beverlin regarding any other employees           25 desk without letting someone know that she’s gone?
                                                                      73                                                                        75

      1 who may or may not have been tracking their time away               1            A. I don’t recall.
      2 fran their desk in the daily team chat, correct?                    2            Q. Okay. I hand you Plaintiff’s Exhibit No. 28.
      3     A. Not that I can recall at this time.                          3       This appears to be an e—mail that you sent to Ms. Rolf on
      4     Q. All right. You do agree with me that you want                4       October 20 of 2016. Do you see that in the middle of the
      5 to make sure that you treat all employees in a fair and             5       page?
      6 consistent manner, correct?                                         6           A. Yes.
      7     A. Correct.                                                     7            Q. All right. The first paragraph, you indicate
      8     Q. Okay. Let me go back to that previous exhibit,               8       that Ms. Hadi is already on her last chance for
      9 Ms. Harris.                                                         9       attendance; do you see that?
     10     A. This one?                                                   10           A. Yes, I do.
     11      Q.    Yes, ma’am. That’s Exhibit   ——                         11            Q. So is that fair to say that on October 20th,
     12      A.    25.                                                     12       2016, Ms. Haul was already on a last chance for
     13       Q. —— 25. The bottan is an e-mail fran Ms. Thomas            13       attendance, correct?
     14   to yourself, correct, and in this e—mail it appears to be        14           A. Yes.
     15   Ms. Thomas telling you that she did not put in the chat          15           Q. Okay. However, you say she is “Still arriving
     16   that she returned. Do you know if in this instance Ms.           16       late, called in.” At that point would Ms. Hadi
     17   Thcmas is referencing Ms. O’Neal?                                17       further or, rather, should Ms. Haul receive further
                                                                                            ——


     18       A. I do not.                                                 18       disciplinary action because she was already on a last
     19     Q. Okay. I’m handing you Plaintiff’s Exhibit No.               19       chance for attendance but was still arriving late?
     20 27. Do you recognize this document?                                20           A. That is not a decision that I made. That is a
     21     A. Yes, I do.                                                  21       decision that the manager in HR had to make.
     22     Q. Did you draft this dooanent?                                22           Q. Okay. As I understand it, decisions with
     23     A. I believe I did.                                            23       respect to terminations occur in eenjunction with the
     24     Q. Okay. This appears to indicate that Ms. Hadi                24       manager of Utilization Management, which would have been
     25 was on her cell phone during the entire meeting on                 25       Ms. Beverlin, in connection with conversations with HE,
                                                                      74                                                                       76
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